            Case 1:24-cv-02486-ER Document 20 Filed 05/10/24 Page 1 of 1




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

FRANKLIN MENDEZ,
                                Plaintiff,

                          – against –
                                                                             ORDER
MOLLY WASLOW PARK, COMMISSIONER OF NEW                                   24-cv-2486 (ER)
YORK CITY DEPARTMENT OF SOCIAL SERVICES,
and THE CITY OF NEW YORK,

                                Defendants.


Ramos, D.J.:

         For the reasons set forth on the record at the May 9, 2024 hearing, the plaintiﬀ’s request

for a preliminary injunction (Doc. 3) is DENIED.

         It is SO ORDERED.

Dated:    May 10, 2024
          New York, New York
                                                                    Edgardo Ramos, U.S.D.J.
